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         ATTACHMENT 3
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DESIGNATION            SOURCE                                                              DURATION       ID

  8:11 - 8:11          Thun, Robert 2022-11-09                                              00:00:02   Thun_12.1
                       8:11     Q. Good morning, Mr. Thun.
 75:17 - 75:17         Thun, Robert 2022-11-09                                              00:00:04   Thun_12.2
                       75:17          MR. ARD: All right. Let's pull up Tab 1,
 76:04 - 76:04         Thun, Robert 2022-11-09                                              00:00:03   Thun_12.3
                       76:04    Q. Do you recognize this document?
 76:05 - 76:08         Thun, Robert 2022-11-09                                              00:00:14   Thun_12.4
                       76:05     A. Yes.
                       76:06    Q. What is it?
                       76:07     A. It's the current agreement that we live
                       76:08          under for Sunday Ticket with the NFL.
 85:22 - 86:03         Thun, Robert 2022-11-09                                              00:00:18   Thun_12.5
                       85:22    Q. If you look about -- oh, I don't know --
                       85:23          seven or eight lines down, there's a sentence that
                       85:24          says, "For clarity, in all cases NFL Sunday Ticket
                       85:25          shall be marketed and oﬀered in a manner
                       86:01          consistent with its status as a high-quality,
                       86:02          premium subscription sports oﬀering." Do you see
                       86:03          that?
 86:04 - 86:04         Thun, Robert 2022-11-09                                              00:00:01   Thun_12.6
                       86:04     A. Yes.
 86:11 - 86:21         Thun, Robert 2022-11-09                                              00:00:41   Thun_12.7
                       86:11    Q. Do you have any understanding of what "a
                       86:12          high-quality, premium subscription sports
                       86:13          oﬀering" refers to?
                       86:14     A. I think it's defining -- well, it's
                       86:15          talking about a product of Sunday Ticket being
                       86:16          premium in nature and high quality, which we
                       86:17          consider to be premium is kind of a word that is
                       86:18          used as a term of art in the industry.
                       86:19          We consider HBO to be a premium, so I
                       86:20          think they're taking some liberties from that and
                       86:21          construing it as a high-quality product.
 86:22 - 86:23         Thun, Robert 2022-11-09                                              00:00:05   Thun_12.8
                       86:22    Q. So you think the word "premium" doesn't
                       86:23          have any additive meaning there? It just means --
 87:02 - 87:07         Thun, Robert 2022-11-09                                              00:00:18   Thun_12.9


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DESIGNATION         SOURCE                                                            DURATION         ID
                    87:02     A. I don't know. Again, I wasn't -- I don't                          Thun_12.9
                    87:03          recall negotiating this point at all. So I don't
                    87:04          know what that meant.
                    87:05    Q. So you don't know what was meant exactly
                    87:06          by "a high-quality, premium subscription sports
                    87:07          oﬀering"?
 87:10 - 87:11      Thun, Robert 2022-11-09                                             00:00:06   Thun_12.10
                    87:10     A. I wasn't around when this was negotiated,
                    87:11          so I don't know what was in the NFL's head.
 87:16 - 87:16      Thun, Robert 2022-11-09                                             00:00:03   Thun_12.11
                    87:16    Q. Is a component of "premium" the price?
 87:18 - 87:18      Thun, Robert 2022-11-09                                             00:00:02   Thun_12.12
                    87:18     A. I don't know. I'm not sure.
 87:19 - 87:21      Thun, Robert 2022-11-09                                             00:00:07   Thun_12.13
                    87:19    Q. And do you know how the parties are
                    87:20          supposed to quantify whether the product was being
                    87:21          marketed and sold as a premium product?
 87:24 - 88:02      Thun, Robert 2022-11-09                                             00:00:12   Thun_12.14
                    87:24     A. I think we have the pricing determination
                    87:25          in DIRECTV's hands. So I don't think the parties
                    88:01          decided on the pricing. I think DIRECTV decided
                    88:02          on the pricing.
 88:04 - 88:07      Thun, Robert 2022-11-09                                             00:00:10   Thun_12.15
                    88:04    Q. The question is, do you know how the
                    88:05          parties were supposed to decide whether the
                    88:06          product was being marketed and sold as a premium
                    88:07          product, as this sentence implies?
 88:10 - 88:11      Thun, Robert 2022-11-09                                             00:00:08   Thun_12.16
                    88:10     A. This contract specifies DIRECTV has the
                    88:11          pricing determination for the product.
167:02 - 167:04     Thun, Robert 2022-11-09                                             00:00:06   Thun_12.17
                    167:02         First of all, when did you first begin
                    167:03         working at DIRECTV?
                    167:04 A. 2013.
167:09 - 167:10     Thun, Robert 2022-11-09                                             00:00:07   Thun_12.18
                    167:09 Q. And what is your current role?
                    167:10 A. Chief content oﬀicer of DIRECTV.

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DESIGNATION         SOURCE                                                              DURATION        ID
184:23 - 184:24     Thun, Robert 2022-11-09                                              00:00:08   Thun_12.19
                    184:23 Q. Mr. Thun, do you recall being asked, in
                    184:24         Exhibit 1, about DIRECTV's agreement with the NFL?
185:05 - 185:08     Thun, Robert 2022-11-09                                              00:00:07   Thun_12.20
                    185:05 A. Yes. The original -- not the original.
                    185:06         The 2014 agreement that we discussed earlier?
                    185:07 Q. That's correct.
                    185:08 A. Yes.
185:21 - 185:23     Thun, Robert 2022-11-09                                              00:00:07   Thun_12.21
                    185:21 Q. From your perspective, were there
                    185:22         eﬀiciencies in negotiating directly with NFL
                    185:23         Enterprises rather than a set of individual clubs?
185:25 - 186:09     Thun, Robert 2022-11-09                                              00:00:30   Thun_12.22
                    185:25 A. Well, I think it's a practice that's
                    186:01         adopted by all the leagues because, yes, I think
                    186:02         it would be extremely cumbersome, especially in a
                    186:03         product like this, to try to negotiate with every
                    186:04         single team for the rights to their content if
                    186:05         they own the content. I think the NFL owns the
                    186:06         content.
                    186:07         So yes, the common practice in the
                    186:08         industry is negotiate with the leagues for this
                    186:09         type of content.
190:12 - 190:25     Thun, Robert 2022-11-09                                              00:00:38   Thun_12.23
                    190:12         You've testified a little bit about price
                    190:13         being a component in determining what content you
                    190:14         carry on DIRECTV. Do you recall this?
                    190:15 A. Yes.
                    190:16 Q. In your time working at DIRECTV, is it
                    190:17         fair to say that content has gotten more
                    190:18         expensive?
                    190:19 A. Unfortunately, yes.
                    190:20 Q. I take it that applies to sports content
                    190:21         as well?
                    190:22 A. Especially sports content. Sports and
                    190:23         broadcast have increased the highest of any
                    190:24         segment within any genre of content across our
                    190:25         platforms.
191:16 - 191:19     Thun, Robert 2022-11-09                                              00:00:11   Thun_12.24

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                    191:16 Q. So in your experience, if, for example,                               Thun_12.24
                    191:17         Fox Sports 1 were to obtain an NFL game, would Fox
                    191:18         or Fox Sports 1 attempt to charge DIRECTV more
                    191:19         money for its carriage?
191:22 - 192:02     Thun, Robert 2022-11-09                                              00:00:14   Thun_12.25
                    191:22 A. Presumably, yes.
                    191:23 Q. And what if each of the 32 NFL teams were
                    191:24         each to reach their own agreement with separate
                    191:25         networks, do you think those networks would all
                    192:01         try and charge DIRECTV more money for their
                    192:02         carriage?
192:05 - 192:15     Thun, Robert 2022-11-09                                              00:00:35   Thun_12.26
                    192:05 A. I don't know. That's an interesting
                    192:06         hypothetical. But, you know, there may be more
                    192:07         appeal in local markets for those games if the
                    192:08         Jacksonville Jaguars were available in
                    192:09         Los Angeles. It just depends on the availability,
                    192:10         what markets, and on what networks. It's hard to
                    192:11         know.
                    192:12 Q. When you say it depends on the
                    192:13         availability, what networks, does that mean that
                    192:14         you are not sure whether those games would be
                    192:15         carried throughout the country?
192:17 - 192:22     Thun, Robert 2022-11-09                                              00:00:17   Thun_12.27
                    192:17 A. Yeah. I think there would be a challenge
                    192:18         in getting national distribution, ubiquitous
                    192:19         national distribution, for kind of what I was just
                    192:20         pointing out. I think certain teams may not have
                    192:21         the same ability to get full distribution that
                    192:22         others might.




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